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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )         4:13CR3122-3
                                             )
                    Plaintiff,               )
                                             )
      vs.                                    )
                                             )         ORDER
DANICIELIZ ALLISON,                          )
                                             )
                    Defendant.               )

       After a telephone conference with defense counsel Dana London, AUSA Alan
Everett, Supervising USPO Mike Norton, and Supervising USPO Kelly Nelson,

      IT IS ORDERED that:

      (1)    The court will not issue an order on sentencing schedule in this case.

       (2)    The Probation Officer shall provide and file in CM/ECF a modified
presentence investigation report on or before Monday, January 12, 2015.

       (3)   Immediately after the filing the modified presentence investigation report, my
Judicial Assistant will contact counsel and the Probation Officer to set an expedited
sentencing date.

      Dated December 12, 2014.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         Senior United States District Judge
